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UNITED STATES DISTRICT COURT                            CRIMINAL SENTENCING MINUTES
DISTRICT OF ARIZONA - Phoenix

DATE: 9/19/2005 CASE NUMBER: CR 04-00968-001-PHX-SMM


Hon. STEPHEN M. MCNAMEE, Chief United States District Judge #: 7020

USA vs. Gregory Keith Priore
DEFT:   : PRESENT 9 NOT PRESENT : Released
Deputy Clerk Traci Abraham                              Crt Rptr/ECR: Gary Moll
A.U.S. Attorney Daniel R. Drake                          Interpreter
                                                         Language
Attorney for Defendant Mark J. Berardoni (Appointed)

9               Dft not appearing, on mot of US Atty, order bond revoked/forfeited and
                B/W issued
                           JUDGMENT          [SENTENCE]

9               Defendant is placed on probation for a period of 3 Years
                on Ct(s) ONE    9 with supervision 9 w/o supervision
:               Committed to the custody of the Bureau of Prisons to be imprisoned for
                a period of on Ct(s)
:               Supervised release term of       by law on Ct(s)
9               Fine of $0 on Ct(s) ONE                                TOTAL FINE $0
9               Restitution of $12,381.12 ordered pursuant to 18 U.S.C. 3596
:               Special Assessment of $100.00 pursuant to 18 U.S.C. 3013 on Ct(s) ONE


9               On Motion of U.S. Atty: Ct(s)
9               Order bond exonerated                      9      Bond exonerated upon
                                                           surrender to USM
:               Dft advised of right to appeal             9 Appeal bond set at $
9               Dft to surrender under Voluntary Surrender Program as directed to the
                designated institution by the U.S. Marshal.
9               The Court adopts the Magistrate Judge's Findings and Recommendations
                filed in this matter and accepts the defendant's plea of guilty.
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9          Other:
